 

 

Case 3:05-cv-01429-AHN Document 98 Filed 09/10/08 Page 1 of 6

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

SALLY GREENHOUSE
Plaintiff : CIVIL ACTION NO.
3:05 CV 01429 (AHN)
VS.
YALE UNIVERSITY
Defendant : SEPTEMBER 10, 2008

DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
MOTION IN LIMINE

The defendant has moved to preclude the plaintiff from testifying about her opinion
regarding her anticipated lifetime earnings had she graduated with a degree from the Yale
University School of Drama (“School of Drama”) on the ground that the testimony is
speculative, and therefore will not provide the jury with a sufficient basis for calculating the
plaintiff's damages. Furthermore, this plaintiff has insufficient expertise to offer an expert
opinion on the subject, and has not listed an expert to testify on the subject. Therefore, the
plaintiff should be precluded from testifying on the subject. This memorandum of law
supports that motion.

IL. Factual Background
In her supplemental discovery responses dated June 2, 2008, the plaintiff stated that

her economic damages included her anticipated earnings, which she estimates at $100,000

DONAHUE, DURHAM & NOONAN, P.C.
CONCEPT PARK © 741 BOSTON POST ROAD
GUILFORD, CONNECTICUT 06437
TEL: (203) 458-9168 © FAX: (203}458-4424
JURIS NO 415438

 
 

Case 3:05-cv-01429-AHN Document 98 Filed 09/10/08 Page 2 of 6

per year beginning within five years of the date she would have graduated. See, Pl.’s Supp.
Responses to Def.’s Interog. and Req. for Prod., at pp. 2-3. The plaintiff has no economic
expert. The plaintiff expects to prove her lifetime earnings through her own testimony based
on her “extensive experience in theater.” See, Pl.’s Supp. Responses to Def.’s Interog. and
Req. for Prod., at p. 3. Since the lifetime earnings of the plaintiff based on the economic
value of a School of Drama degree are speculative, the Court should grant the defendant’s
motion in limine.
Il. Legal Argument

“Damages are recoverable only to the extent that the evidence affords a sufficient
basis for estimating their amount in money with reasonable certainty.... Thus, [t]he court
must have evidence by which it can calculate the damages, which is not merely subjective or
speculative, but which allows for some objective ascertainment of the amount.” Valentin vy.
Community Remodeling Co., Inc., 90 Conn.App. 255, 260-61 (2005). See also, Landry v.
Spitz, 102 Conn.App. 34, 51 (2007). The plaintiff's testimony regarding her subjective belief
as to her lifetime earnings based on the economic value of a School of Drama degree is
speculative. The plaintiff does not offer an objective calculation of her lifetime earnings, but
simply states that had she graduated with a degree from the School of Drama, she would have
earned $100,000 a year beginning at some point within five years of the time she would have
graduated, and that this would have continued until her death. See, Pl.’s Supp. Responses to

Def.’s Interog. and Req. for Prod., at pp. 2-3.

bo

 
 

 

Case 3:05-cv-01429-AHN Document 98 Filed 09/10/08 Page 3 of 6

In Beverly Hills Concepts, Inc. v. Schatz and Schatz, Ribicoff and Kotkin, 247 Conn.
48 (1998), the Supreme Court reversed the trial court’s award of approximately $15.9 million
in lost profits over a period of 12 years. The plaintiff was a start up company in the business
of selling fitness equipment and franchises. Id. at 51. The principle issue on the appeal was
the proper method for calculating damages for the destruction of a nascent business. Id. at
50. The court explained that damages for lost profits “are recoverable only to the extent that
the evidence affords a sufficient basis for estimating their amount with reasonable certainty”
and a plaintiff “cannot recover for ‘the mere possibility’ of making a profit.” Id, at 69-70,
“In order to recover lost profits, therefore, the plaintiff must present sufficiently accurate and
complete evidence for the trier of fact to be able to estimate those profits with reasonable
certainty.” In determining whether the plaintiff had proved its lost profits to a reasonable
certainty, the Supreme Court considered a number of factors, including the plaintiffs prior
experience in the same business, the plaintiff's experience in the same enterprise subsequent
to the interference, and the plaintiff's and third party experience in a similar business. Id. at
72-73. “The underlying requirement for each of these types of evidence is a substantial
similarity between the facts forming the basis of the profit projections and the business
opportunity that was destroyed.” Id. at 74.

The plaintiff in the present case is similar to a start up company in that she was
intending to embark on a new career. Prior to her admission to the School of Drama, the

plaintiff engaged in performance art, where she was essentially a one-woman show. While at

the School of Drama, the plaintiff aspired to become a director. Thus, the plaintiffs burden

 
 

 

 

Case 3:05-cv-01429-AHN Document 98 Filed 09/10/08 Page 4 of 6

of proving her damages, i-e. her lost earnings as a director with a degree from the School of
Drama, is comparable to the burden of the plaintiff in Beverly Hills Concepts, Inc. Since the
plaintiff cannot provide a sufficient basis for estimating the amount of her lost earings with
reasonable certainty, the plaintiff should be precluded from offering testimony regarding her
opinion as to her lifetime earnings.

As illustrated by the plaintiff's inability to find employment, the field of theater is a
competitive one and it is difficult to find employment. In addition, individuals are
compensated at varying rates depending on many subjective variables. Thus, the plaintiff
would not necessarily have earned a certain level of income, even if she had graduated with a
degree from the School of Drama and then obtained employment.

Furthermore, the plaintiff has not disclosed an expert witness who will testify
regarding the plaintiffs potential lifetime earnings, and the plaintiff has insufficient
experience to offer expert testimony on the subject. Under Rule 701 of the Federal Rules of
Evidence, a witness who is not testifying as an expert may offer opinions which are rationally
based on the perception of the witness and are not based on scientific, technical, or other
specialized knowledge. The Advisory Committee Notes explain that Rule 701 was amended
in 2000

to eliminate the risk that the reliability requirements set forth in
Rule 702 will be evaded through the simple expedient of proffering
an expert in lay witness clothing. Under the amendment, a
witness’ testimony must be scrutinized under the rules regulating
expert opinion to the extent that the witness is providing testimony

based on scientific, technical, or other specialized knowledge
within the scope of Rule 702.

 
 

 

Case 3:05-cv-01429-AHN Document 98 Filed 09/10/08 Page 5 of 6

If the plaintiff testifies about her lifetime earnings, she will be offering expert testimony
through a lay witness. The plaintiff has no training as an economist, has no experience
working as a director, and has not reviewed Department of Labor or other statistics that
would be used by an economic expert. The plaintiff only has experience in performance art,
which is simply not comparable to a career as a director who graduated with a degree from
the Yale University School of Drama. Thus, the plaintiff lacks the experience and knowledge
required to provide a rational basis for her opinions as to her lifetime earnings and the
testimony is not admissible under Rule 701. Calculating a future income stream in a new
career requires specialized knowledge such that the testimony falls within the scope of Rule
702. Since the plaintiff has not been disclosed as an expert witness, she cannot offer expert
testimony as to her lifetime earnings.
Ii. Conclusion

The plaintiff's opinion regarding her future lifetime earnings is too speculative to
provide a sufficient basis for an award of economic damages. In addition, the plaintiff lacks
the expertise to testify on this subject. Finally, the plaintiff has not disclosed an expert on the
subject. Therefore, the Court should grant the defendant’s motion in limine and preclude the
plaintiff from offering testimony on her anticipated lifetime earnings had she graduated with

a degree from the Yale University School of Drama.

 
 

 

Case 3:05-cv-01429-AHN Document 98 Filed 09/10/08 Page 6 of 6

THE DEFENDANT,
YALE UNIVERSITY

By _/ YA / Zi Lee

Patrick M. Noonan (ct00189)
Donahue, Durham & Noonan, P.C.
741 Boston Post Road

Guilford, CT 06437

203-458-9168

pnoonan@ddnectlaw.com

   

CERTIFICATION
This is to certify that a copy of the foregoing was e-mailed on the above-written date,
to:

John R. Williams, Esq.
jrw@johnrwilliams.com

Jef BLE

Patrick M. Noonan

 

 
